     Case 2:25-cv-01962-CMR        Document 18     Filed 04/23/25   Page 1 of 15




                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  STUDENT DOE NO. 1,
                      Plaintiff,

               v.                                 CIVIL ACTION NO: 25-1962

  KRISTI NOEM, et al.,
                       Defendants.

                                      ORDER

      AND NOW, this _____ day of April 2025, upon consideration of Plaintiff’s

Consolidated Motions for Leave to Proceed Using a Pseudonym, to Require

Redaction of Identifying Information from Filings, and to Close All Hearings to the

Public, IT IS HEREBY ORDERED that said Motion is GRANTED.

      IT IS FURTHER ORDERED that:

      1.     Plaintiff is permitted to proceed under the pseudonym “Student Doe

No. 1.”

      2.      All filings in this matter shall be redacted to remove any information

that would identify Plaintiff.

      3.     All hearings in this matter shall be closed to the public.

      It is so ORDERED.
                                                    BY THE COURT:

                                                    _________________________
                                                    CYNTHIA M. RUFE, J.
     Case 2:25-cv-01962-CMR       Document 18   Filed 04/23/25   Page 2 of 15




                 UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  STUDENT DOE NO. 1,
                     Plaintiff,

              v.                                CIVIL ACTION NO: 25-1962

  KRISTI NOEM, et al.,
                     Defendants.


      PLAINTIFF’S CONSOLIDATED MOTIONS FOR LEAVE TO
     PROCEED USING A PSEUDONYM, TO REQUIRE REDACTION
         OF IDENTIFYING INFORMATION FROM FILINGS,
          AND TO CLOSE ALL HEARINGS TO THE PUBLIC

      Plaintiff, Student Doe No. 1, by undersigned counsel, respectfully moves the

Court to enter the proposed order attached hereto, permitting Plaintiff to proceed

using a pseudonym, to require redaction of identifying information from all filings,

to close all hearings to the public. For the reasons set forth in the accompanying

Memorandum of Law, the disclosure of Plaintiff’s identity would result in a severe

invasion of Plaintiff’s privacy and presumption of innocence and subject them to

harassment and ostracization that would far outweigh any public interest in

Plaintiff’s identity or any legitimate interest of the Defendants in the Plaintiff’s

identity being publicly known.
     Case 2:25-cv-01962-CMR        Document 18     Filed 04/23/25    Page 3 of 15



      Plaintiff seeks relief in this case based on the reported termination of their

“SEVIS” record. Plaintiff’s privacy interest in their educational record would be

undermined if Plaintiff were required to be identified by name, educational

institution, field of study, or other personally identifying information.

      Granting this motion would be in the interest of justice. The requested order

would protect legitimate privacy interests.

      Discovery in this matter can be conducted subject to a protective order that

would prevent disclosure of personally identifying information while permitting

the parties to fully explore the merits. Plaintiff anticipates that the parties will

negotiate an appropriate protective order for consideration by the Court.

      Accordingly, Plaintiff respectfully requests that this Consolidated Motion

be granted and the Court enter an order that would prevent Plaintiff’s identity

from becoming publicly known.


                                               Respectfully Submitted,

Dated: April 23, 2025                          /s/ David S. Santee

                                               David S. Santee
                                               Pa. Bar. No. 83832
                                               Law Offices of David S. Santee, LLC
                                               12 Veterans Square, Suite 1
                                               Media, PA 19063
                                               Email: david@santeelawoffices.com
                                               Telephone: (215) 717-8000
                                               Facsimile: (215) 895-3995

                                           2
Case 2:25-cv-01962-CMR   Document 18   Filed 04/23/25   Page 4 of 15




                                   Kasturi Sen
                                   Pa. Bar. No. 209351
                                   Goldshaw Greenblatt Pierce LLC
                                   Two Penn Center, Suite 1230
                                   1500 John F. Kennedy Boulevard
                                   Philadelphia, PA 19102
                                   Email: ksen@ggplawfirm.com
                                   Telephone: (215) 278-6865
                                   Facsimile: (215) 445-3629




                               3
     Case 2:25-cv-01962-CMR        Document 18     Filed 04/23/25    Page 5 of 15




                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  STUDENT DOE NO. 1,
                      Plaintiff,

               v.                                 CIVIL ACTION NO: 25-1962

  KRISTI NOEM, et al.,
                       Defendants.


       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
            CONSOLIDATED MOTIONS FOR LEAVE TO
     PROCEED USING A PSEUDONYM, TO REQUIRE REDACTION
         OF IDENTIFYING INFORMATION FROM FILINGS,
         AND TO CLOSE ALL HEARINGS TO THE PUBLIC

      Plaintiff, Student Doe No. 1, by undersigned counsel, hereby submits this

Memorandum of Law in support of Plaintiff’s Consolidated Motions for Leave to

Proceed Using a Pseudonym, to Require Redaction of Identifying Information From

Filings, and to Close All Hearings to the Public. The disclosure of Plaintiff’s identity

would result in a severe invasion of Plaintiff’s privacy and presumption of innocence

and subject him to harassment and ostracization that would far outweigh any public

interest in Plaintiff’s identity or any legitimate interest of the Defendants in the

Plaintiff’s identity being publicly known.

      Although parties must ordinarily proceed using their own names, “the

circumstances of a case, particularly where litigants may suffer extreme distress or
     Case 2:25-cv-01962-CMR        Document 18      Filed 04/23/25    Page 6 of 15




danger from their participation in the lawsuit, may justify allowing a party to proceed

under a pseudonym. Doe v. Genesis Healthcare, et al., 535 F.Supp. 337, 338 (E.D.Pa.

2021). See also Doe v. Provident Life and Acc. Ins. Co., 176 F.R.D. 464, 467–68

(E.D. Pa. 1997).

      The factors weighing for and against the use of pseudonyms are as follows:

             The factors which support the use of pseudonymous
             litigation are as follows: (1) the extent to which the
             identity of the litigant has been kept confidential; (2) the
             bases upon which disclosure is feared or sought to be
             avoided, and the substantiality of these bases; (3) the
             magnitude of the public interest in maintaining the
             confidentiality of the litigant’s identity; (4) whether,
             because of the purely legal nature of the issues presented
             or otherwise, there is an atypically weak public interest in
             knowing the litigant’s identities; (5) the undesirability of
             an outcome adverse to the pseudonymous party and
             attributable to his refusal to pursue the case at the price of
             being publicly identified; and (6) whether the party
             seeking to sue pseudonymously has illegitimate ulterior
             motives.

                                        * * *

             [T]he factors which militate against the use of a
             pseudonym are as follows: (1) the universal level of public
             interest in access to the identities of litigants; (2) whether,
             because of the subject matter of this litigation, the status
             of the litigant as a public figure, or otherwise, there is a
             particularly strong interest in knowing the litigant’s
             identities, beyond the public’s interest which is normally
             obtained; and (3) whether the opposition to pseudonym by
             counsel, the public, or the press is illegitimately motivated.




                                           2
       Case 2:25-cv-01962-CMR    Document 18     Filed 04/23/25   Page 7 of 15




Doe v. Provident Life and Acc. Ins. Co. , 176 F.R.D. 464, 467–68 (E.D. Pa. 1997).

“[T]he decision whether to allow a plaintiff to proceed anonymously rests within the

sound discretion of the court.” Lozano v. City of Hazleton, 620 F.3d 170, 194–95 (3d

Cir. 2010), cert. granted, judgment vacated sub nom. on other grounds, City of

Hazleton, Pa. v. Lozano, 563 U.S. 1030, 131 S. Ct. 2958, 180 L. Ed. 2d 243 (2011).

       By far, the most compelling reason to withhold Plaintiff’s identity from the

public is Plaintiff’s presumption of innocence, a protection that is afforded to all

persons under the U.S. Constitution. The public has a strong interest against its

government labeling individuals as dangerous criminals who have never been

convicted of a crime in a court of law. Yet that is exactly what the government has

set out to do. Beginning with Executive Order 14161 of January 20, 2025, titled

“Protecting the United States From Foreign Terrorists and Other National Security

and Public Safety Threats” 1 the president’s administration has set out to demonize

foreign nationals as being threats to the safety and security of U.S. citizens. The

Executive Order’s stated purpose is “to ensure that those aliens approved for

admission into the United States do not intend to harm Americans or our national

interests… [and] the United States must ensure that admitted aliens and aliens




   1
     Available online at https://www.presidency.ucsb.edu/documents/executive-
order-14161-protecting-the-united-states-from-foreign-terrorists-and-other.


                                         3
       Case 2:25-cv-01962-CMR      Document 18     Filed 04/23/25   Page 8 of 15




otherwise already present in the United States do not bear hostile attitudes toward

its citizens, culture, government, institutions, or founding principles, and do not

advocate for, aid, or support designated foreign terrorists and other threats to our

national security.” Ex. A. More recently, on April 14, 2025, The White House

published an article online reporting on a meeting between President Donald J.

Trump and Salvadoran President Nayib Bukele, which includes the claim: “Thanks

to the two leaders, scores of violent illegal immigrant killers, rapists, gang members,

and other sick criminals have been swiftly taken off our streets.” 2 One of those

supposed “sick criminals” taken off our streets and sent to a prison in El Salvador is

Kilmar Armando Abrego Garcia, who had, prior to being “mistakenly” deported by

the government’s own admission, was living in the United States pursuant to a grant

of withholding of removal by an immigration judge. See Abrego Garcia v. Noem, et

al., No. 25-1404, (4th Cir. Apr. 17, 2025).

       In a press conference on Friday, April 17, 2025, President Trump described

Abrego Garcia who has never been convicted of a crime as a “foreign terrorist,” who




   2
     The White House, “No Safe Harbor for Illegal Immigrant Criminals Under
President Trump,” Apr. 14, 2025, https://www.whitehouse.gov/articles/2025/04/no-
safe-harbor-for-illegal-immigrant-criminals-under-president-
trump/?utm_source=chatgpt.com.


                                              4
        Case 2:25-cv-01962-CMR    Document 18      Filed 04/23/25   Page 9 of 15




is “not a very innocent guy,” and whose “record is unbelievably bad.” 3 President

Trump went on to say: “They talk about how evil I am, that this man would be thrown

out of our country…. This man is a — according to certified statements that we get

— is a very violent person. And they want this man to be brought back into this

country, where he can be free.” 4 Mr. Abrego Garcia’s wife has been forced to move

to a safe house after a U.S. official posted a court document on social media that

included the family address. 5

        The government’s blatant disregard of the consequences of disseminating

negative information about an individual that has complained of being aggrieved

weighs strongly in favor of withholding Plaintiff’s identity here, and it far outweighs

any factors in favor of disclosure. A small, but very vocal, segment of the public may

be interested in joining the campaign that the government has initiated. But that is

not the type of public interest that should weigh in favor of disclosure. On the



   3
     Peter Baker, “Defying the Law and the Courts, Trump Seeks to Shift the Focus,”
The     New York Times, Apr.               19,   2025    (obtained     online at
https://www.nytimes.com/2025/04/19/us/politics/deportation-trump-abrego-garcia-
el-salvador.html?searchResultPosition=1).
   4
       Id.
   5
     Maria Luisa Paul, “Her husband was mistakenly deported. Now she’s caught in
a political frenzy,” The Washington Post, Apr. 22, 2025 (obtained online at
https://www.washingtonpost.com/immigration/2025/04/21/jennifer-vasquez-sura-
kilmar-abregro-garcia-wife/).


                                          5
     Case 2:25-cv-01962-CMR       Document 18     Filed 04/23/25   Page 10 of 15




contrary, the legitimate public interest is one that is consistent with the protections

afforded by the Constitution. Indeed, the public interest in knowing the details of a

plaintiff’s identify is weak where, as here, the dispute presented to the Court turns

on legal and constitutional issues. See, e.g. Lozano v. City of Hazleton, 620 F.3d 170,

194–95 (3d Cir. 2010), cert. granted, judgment vacated sub nom. City of Hazleton,

Pa. v. Lozano on other grounds, 563 U.S. 1030, 131 S. Ct. 2958, 180 L. Ed. 2d 243

(2011) (“the court explained that because the Doe Plaintiffs' identity information was

not central to their claims, restricting Hazleton's access to that information would

not be prejudicial”); J.M.H. v. Freden, No. 24-CV-875-LJV, 2025 WL 81919, at *3

(W.D.N.Y. Jan. 13, 2025) (“Finally, the public interest in knowing the details of

J.M.H.’s identity is weak here, where the dispute before this Court turns on the

constitutional question of whether a detainee in her circumstances is entitled to a

bond hearing.”).

      Defendants also have no legitimate interest in Plaintiff’s identity becoming

known publicly. Since Plaintiff has made their identity known to the defense, there

is no prejudice to Defendants in their ability to access Plaintiff’s immigration file

and adequately prepare their defense. See L. K. v. United States Citizenship &

Immigr. Servs., No. 24-CV-00675-LJC, 2024 WL 1528393, at *1–2 (N.D. Cal. Mar.

14, 2024) (granting plaintiff’s motion to proceed only by initials L.K., even before

defendants had any opportunity to oppose the motion, and holding that defendants

                                          6
     Case 2:25-cv-01962-CMR       Document 18     Filed 04/23/25   Page 11 of 15




would suffer no prejudice because “Plaintiff disclosed his full name and alien

number to Defendants in connection with his service of summons and the Complaint

for this litigation . . . [and] Defendants thus have all the information they need to

easily access Plaintiff's full immigration case file and adequately prepare their

defense.”).

      Where the defendant is a government entity or official, courts routinely weigh

the public interest factor in favor of leave to proceed under a pseudonym. See, e.g.,

E.W. v. N.Y. Blood. Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003) (“[W]here a plaintiff

attacks governmental activity…the plaintiff’s interest in proceeding anonymously is

considered particularly strong.”); J.M.H. v. Freden, No. 24-CV-875-LJV, 2025 WL

81919, at *3 (W.D.N.Y. Jan. 13, 2025) (granting motion to proceed via pseudonym

where plaintiff alleged she feared harm while in ICE custody as well as if deported

because “[s]uits against the government involve no injury to the [g]overnment's

reputation.”). This is because the plaintiff “presumably represents a minority interest

(and may be subject to stigmatization), and there is arguably a public interest in a

vindication of his rights,” while “the government is viewed as having a less

significant interest in protecting its reputation from damaging allegations than the

ordinary individual defendant.” E.W. v. N.Y. Blood. Ctr., 213 F.R.D. at 111.

      And here, as the Abrego Garcia case demonstrates, there is legitimate concern

that Defendants would use the information to sway public opinion against Plaintiff,

                                          7
     Case 2:25-cv-01962-CMR        Document 18      Filed 04/23/25     Page 12 of 15




portraying him as a criminal when he has been convicted of no crime. Not only

have Defendants communicated that they will likely oppose any motion to

proceed pseudonymously, they have also indicated an intent to include detailed

information of the accusations against Plaintiff in response to Plaintiff’s

Motion for a Temporary Restraining Order,6 facts which have absolutely no

relevance to the issues raised in Plaintiff’s motion or to this action in general.

      Additionally,    Plaintiff   seeks   relief   in   this   case    based   on     the

reported termination of their “SEVIS” record. Plaintiff’s privacy interest in their

educational record, which are protected by the Family Educational and Privacy Act

(“FERPA”), 20 U.S.C. §1232(g) and its accompanying regulations, would be

undermined if Plaintiff were required to be identified by name, educational

institution, field of study, or other personally identifying information. See Doe v.

Massachusetts Inst. of Tech., 46 F.4th 61, 74–75 (1st Cir. 2022) (vacating denial of

pseudonymity to student suing his former school and rejecting defendant’s

argument that student had waived his privacy rights under FERPA by suing

the school and thereby placing his educational records at-issue).




6
  Plaintiff’s counsel has voiced strong objection to this and communicated to
Defendants that they would like an opportunity to be heard before this Court prior
to such a filing.


                                           8
    Case 2:25-cv-01962-CMR     Document 18     Filed 04/23/25    Page 13 of 15




      Plaintiff respectfully request that the Court grant the accompanying Motion

and enter an Order that would prevent Plaintiff’s identity from becoming publicly

known.


                                           Respectfully Submitted,

Dated: April 23, 2025                      /s/ David S. Santee

                                           David S. Santee
                                           Pa. Bar. No. 83832
                                           Law Offices of David S. Santee, LLC
                                           12 Veterans Square, Suite 1
                                           Media, PA 19063
                                           Email: david@santeelawoffices.com
                                           Telephone: (215) 717-8000
                                           Facsimile: (215) 895-3995

                                           Kasturi Sen
                                           Pa. Bar. No. 209351
                                           Goldshaw Greenblatt Pierce LLC
                                           Two Penn Center, Suite 1230
                                           1500 John F. Kennedy Boulevard
                                           Philadelphia, PA 19102
                                           Email: ksen@ggplawfirm.com
                                           Telephone: (215) 278-6865
                                           Facsimile: (215) 445-3629




                                       9
     Case 2:25-cv-01962-CMR       Document 18    Filed 04/23/25     Page 14 of 15




                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA



  STUDENT DOE NO. 1,
                     Plaintiff,

               v.                                CIVIL ACTION NO: 25-1962

  KRISTI NOEM, et al.,
                        Defendants.


                         DECLARATION OF COUNSEL

      I, David S. Santee, counsel for Plaintiff in the above-referenced matter, hereby

declare that all facts included in Plaintiff’s Consolidated Motions for Leave to

Proceed Using a Pseudonym, to Require Redaction of Identifying Information from

Filings, and to Close All Hearings to the Public, except those specifically attributed

to another source, are true and correct to my knowledge, information, and belief.


                                              Respectfully Submitted,

Dated: April 23, 2025                         /s/ David S. Santee

                                              David S. Santee
                                              Pa. Bar. No. 83832
                                              Law Offices of David S. Santee, LLC
                                              12 Veterans Square, Suite 1
                                              Media, PA 19063
                                              Email: david@santeelawoffices.com
                                              Telephone: (215) 717-8000
                                              Facsimile: (215) 895-3995
    Case 2:25-cv-01962-CMR     Document 18      Filed 04/23/25   Page 15 of 15




                        CERTIFICATE OF SERVICE

      I, David S. Santee, hereby certify that a true and correct copy of the
foregoing motion, together with the Proposed Order, Memorandum of Law and
Declaration of Counsel in support thereof, was electronically filed with the on
Court April 23, 2025, and is available for viewing and downloading from the
ECF system by all counsel of record.


Dated: April 23, 2025                     /s/ David S. Santee
                                       ____________________________
                                              David S. Santee
                                              Pa. Bar. No. 83832
                                              Law Offices of David S. Santee,
                                              LLC 12 Veterans Square, Suite 1
                                              Media, PA 19063
                                              Email: david@santeelawoffices.com
                                              Telephone: (215) 717-8000
                                              Facsimile: (215) 895-3995 Attorney
                                              for Plaintiff
